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Certificate Number: 15111-KYW-DE-033939674
Bankruptcy Case Number: 19-11261

QUT

15111-KYW-DE-033939674

CERTIFICATE OF DEBTOR EDUCATION

I CERTIFY that on January 11, 2020, at 6:36 o'clock PM EST, Gene K Edgar
completed a course on personal financial management given by internet by BE
Adviser, LLC, a provider approved pursuant to 11 U.S.C. 111 to provide an
instructional course concerning personal financial management in the Western

District of Kentucky.

 

Date: January 12, 2020 By: /s/fRyan McDonough

Name: Ryan McDonough

Title: Executive Director of Education

 

 

 

 
